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                                SOt]'I'}I IiRN DISTRTCI' ()I- FLOITI DA

                                CASE NO. 25-mi-8005-RMM


   UNITED STA'IES OF AMERICA,
                                                                                         SP

                                                                             Feb 6, 2025
   .IOSII'I{ COOI'IIR
   ANd VITOR H t]STON.SI T,VA.
                                                                                          West Palm Beach
                                Defentlants.


                                     CRIMINAI- COVEIT SHEET

   I   . Did this matter originate from a matter pending in the Northern Region of the United States
         Attorney's Office prior to August 8, 2014 (Mag. Judge Shaniek Mills Maynard)? NO

   2. Did this matter originate from a matter pending in the Central Region of the United States
         Attomey's Office prior to October 3, 20 I 9 (Mag. Judge Jared M. Strauss)? NO

   3. Did this matter involve the participation of or consultation with Magistrate Judge Eduardo I.
         Sanchez during his tenure at the U.S. Attorney's Office, which concluded on January 22,
         2023? NO

   4. Did this matter involve the participation of or consultation with Magistrate Judge Marty
         Fulgueira Elfenbein during her tenure at the U.S. Attorney's Office, which concluded on
         March 5. 2024? NO

                                                        Respectfully submitted,

                                                        HAYDEN P. O'BYRNE
                                                        UNITED STATES ATTORNEY

                                                 llv:   J/t4%rra?, U J112 1-/a.4112
                                                        SHANNON O'SHEA DARSCI.I
                                                        Assistant United States Attomey
                                                        Florida Bar No. 68566
                                                        500 South Australian Avenue. Suite 400
                                                        West Palm Beach. Florida 33401
                                                        Tel: (561) 209-1027
                                                        Shannon.Darsch@usdoj.gov
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AO 9l (Rev 08/09) Criminal Complaint



                                       Uurrpn SrRres DrsrRrcr Counr
                                                                for the
                                                    Southem District of F'lorida

                  LJnited States of America                        )
                                                                   )
                                                                   )      Case No. 25-mj-8065-RMM
                    JOSEPH COOPER                                  )
                and VITOR HUSTON-SlLVA.                                                                                  SP
                                                                   )
                                                                   )
                          Dekndant(s)                                                                       Feb 6, 2025

                                                     CRIMINAL COMPt,AIN'I'                                                     West Palm Beach


            l, the complainant in this case, state that the following is true to the best ofmy knowledge and beliei
On or about the dale(s) of                    see below                   in the count) of               Palm Beach                        in the

         Southern District of               Flori              , the defendant(s) violated:

           Code Section                                      Ofense Description
21 U.S.C. SS 841(a)(1), 841(bX1) Conspiracy to Distribute a Controlled Substance (Methamphetamine) by
(Bxviii) and 846                 Joseph Cooper and Vitor Huston-Silva beginning on or about Seplember 5,
                                              2024
21 U S.C. S 8a1(a)(1),841(bX1XB)
(viii)                                        Distribution of a Controlled Substance (l\4ethamphetamine) by Joseph
                                              Cooper and Vitor Huston-Silva on or about Septembet 5, 2024




           This criminal complaint is based on these facts:
See Attached Affidavit




           d Continued on the attached sheet.


                                                                                              C om pl o i nan I's s ignaturc


                                                                                        Special Agent Eric Fess, DEA
                                                                                               Printed name ond title

Sworn and Attested to me by Applicant by Telephone (FaceTime) pursuant to Fed. R. Crim. P. 4(d) and 4.1.


Date:
                                                                                                  Judge s signalure


Citv and state:                    West Palm Beach FL                              Ryon M. McCabe, U.S. Magistrate Judge
                                                                                               Printed name and tille
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                    AFFIDAVIT IN SUPPORT OF CITIMINAL COMI'LAINT

          [, Eric Fess being duly swom, hereby depose and state as follows:

           l.     I am a Special Agent of the Drug Enforcement Administration (hereinafter
   referred to as the "DEA") assigned to the West Palm Beach District Office in West Palm Beach,

   Florida. As such, I am an investigative or law enforcement officer ofthe United States within the

   meaning of Title I8, United States Code, Section 2510(7), that is, an oflicer ofthe United States

   who is empowered by law to conduct investigations of and to make arrests for offenses

   enumerated in Title 18, United States Code, Section 2516(1). I have been a Special Agent with

   DEA since November 2002, and I have been assigned to the West Palm Beach District Office

   since January 2009. Prior to that, I was assigned to the Miami Field Division located in Miami,

   Florida. I have specialized in investigations involving narcotics trafficking and money
   laundering. I have received training on the subjects of narcotics tra{ficking and money

   laundering from the DEA and have been personally involved in investigations concerning the

   possession and distribution of controlled substances, as well as methods used to finance drug

   transactions and launder drug proceeds.

          2.      I submit this affidavit based on information known to me personally from the
   investigation, as well as information obtained from others who were directly involved in the

   matter or have personal knowledge of the facts herein. This affidavit does not include all the

   information known to me, but only information sufficient to establish probable cause for the

   issuance of a criminal complaint charging JOSEPH COOPER and VITOR HUSTON-SILVA

   with conspiracy to distribute a mixture and substance containing a detectable amount of

   methamphetamine, in violation of Title 21, United States Code, Section 846, and distribution of a
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   mixture and substance containing a detectable amount of methamphetarnine, in violation of Title

   21. United States Code, Section 841(a)(l).

          3.      tn Aprll2024, DEA, Palm Beach County Sheriff's Office (PBSO) and Broward

   Sheriff's Office (BSO) conducted a joint investigation into the alleged drug trafficking activities

   ofan individual identified as COOPER. Based on information received from a DEA confidential

   source (CS), agents leamed that COOPER was a polydrug distributor operating in the Pompano

   Beach, Florida area. The CS said he/she had previously purchased fake Adderall and Xanax pills

   from COOPER at COOPER's store, Southern Bound Kicks, located at 2303 West McNab Road

   #15, Pompano Beach, Florida, 33309.

          4.      Specifically, on July 17,2024, the CS introduced an undercover PBSO detective

   (UC I ) to COOPER. On August I , 2024, UCI and a second undercover officer (UC2) met with

   COOPER, at Southern Bound Kicks. During this audio and video recorded meeting, COOPER

   discussed selling UCI fake Adderall pills made out of methamphetamine and Hydrocodone pills

   in the near future. At one point, COOPER showed UCI what appeared to be a firearm and

   showed UCI where COOPER kept it, which was under the cash register for easy access.

          5.      On September 5,2024,UCl and a third undercover (UC3) met with COOPER to

   purchase 700 fake Adderall pills and 230 hydrocodone pills in exchange for $3,000 of official

   funds. This transaction again occurred inside of Southem Bound Kicks. During the audio and

   video recorded transaction, COOPER instructed an unidentified male, later identified as

   HUSTON-SILVA, to hand over the pills to UC I . HUSTON-SILVA thereafter grabbed a box and

   put it on the table. In the presence of HUSTON-SILVA and COOPER, UCI opened the box and

   took out two, clear bags of pills. Subsequent analysis revealed that UCI only received 504 fake

   Adderall pills and 233 Hydrocodone pills. UCI later called COOPER to confront him on the pill
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   shortage. During this recorded call, COOPER stated that he was not aware of the shortage and

   promised to correct the mistake during the next transaction.

          6.      Testing of the above substances by the DEA Southeast Laboratory revealed that

   the fake Adderall pills contained methamphetamine with a total net weight of 190 grams and the

   hydrocodone had a total net weight of I 05 grams.

          7.      In October 2024, UC! contacted COOPER. During this conversation, UCI

   learned that HUSTON-SILVA was arrested by Broward County Sheriff's Office for possession of

   cocaine, fentanyl, marijuana and a firearm. Due to this, COOPER changed his cellphone number

   and became more cautious about his drug trafficking.

          8.     On February 5, 2025, UC I met at COOPER's business at Southern Bound Kicks

   for the distribution of 196 counterfeit Adderall pills, which included the shortage of pills from

   September 5, 2024. COOPER did not have the pills. At this time, COOPER was taken into

   custody. Post-Miranda, COOPER consented to a search of his business. During the search, law

   enforcement retrieved a bag of white powder suspected to be fentanyl located in the office of

   COOPER's business. COOPER informed law enforcement the bag of white powder was

   fentanyl. Further, law enforcement recovered approximately thirty pills suspected to be

   oxycodone. The pills were located in a clear bag near the register of COOPER·s business. A

   PepperBall launcher was found next to the cash register.

          9.      Based on the above information and facts, your affiant submits there is probable

   cause to charge: COOPER and HUSTON-SILVA with conspiracy to distribute a mixture and

   substance containing a detectable amount of methamphetamine, beginning on or about

   September 5, 2024, in violation of Title 21, United States Code, Section 846; and COOPER and

   HUSTON-SILVA with distribution of a mixture and substance containing a detectable amount of
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   methamphetamine, on or about September 5,2024, in violation of Title 21, United States Code,

   Section 841(a)( I ).

                                              FURTHER YOURAFFIANT SAYETH NAUGHT




                                               ERIC J FESS. PECIAL AGENT
                                               DRUG ENFORCEMENT ADMIN I S1'I{ATION

   Swom and Attested to me by Applicant by Telephone (FaceTime) per the requirements of Fed. R.
   Crim. P. 4(d) and 4.1 on the _ day of February 2025.




   HONORABLII RYON M. McCABL'.
   I-,INITED STNT'I,]S MAGISTRAf L] JT]tX;E
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                                 UNITIID STATtrS DISTRICT COURT
                                 SOT.]THERN DISTRICT OF FLORII)A

                                             PENALTY SIIEEl'

   Defendant's Name: Joseph Cooper

   Casc No:

   Count #: I

   Conspiracy to Distribute a Contro I led Substance (Methamphetamine)

   21 U.S.Cl. NN ll4l(a)(l). 8 41(b)(l )(ll)(viii) and 846
   * Max, Term of Imprisonment: 40 years
   + Mandatory Min. Term of Imprisonment: 5 ycars
   * Max. Supervised Release: a minimum of 4 ycars up to life
   * Max. Fine: $5,000,000

   Count #: 2

   Distribution o1'a Controlled Substance (Methamp hetamine)

   2l U.S.C. $ tl4l(aXl) and 841 (h)(l)( ll)(viii)
   * Max. Term of Imprisonment: 40 years
   * Mandatory Min. Term of Imprisonment: 5 years
   * Max. Supervised Release: a minimum of 4 years up to life
   * Max. Fine: $5 000 000




     *Refers only to possible term of incarceration, supervised release and fines. It does not include
            restitution, special assessments, parole terms, or forfcitures that may be applicable.
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                                UNITED STAI'ES DISTRI(]'T COURT
                                SOUTHERN I)ISTRICT 0F' I'LORIDA

                                             PI'NALTY SHEEI'

   Defcrrtlant's N:rme : Vitor Iluston-Silva

   Case No:

   Count #: I

   Consniracv to Distributc a Controll ed Substance (Metharnphetamine)

   2l U.S.C. S6 841(a)(l). 841 (b)( )( B Xv ii) and 846
   * Max. Term of Imprisonment: 40 years
   * Mandatory Min. Term of Imprisonment: 5 years
   * Max. Supervised Release: a minimum of 4 years up to lifc
   * NIax. l"ine: $5 000.000

   Count #: 2

   Distr-ib ution of a Controllcd Substance ( Metharnphetarn inc)

   2l LJ.S.C. { 841(aXl) and 84 I (b)(l)(B)(viii)
   * Max. Term of Imprisonment: 40 years
   * Mandatory Min. Term of Imprisonment: 5 years
   * Max. Supen'ised Release: a minimum of 4 years up to lil'e
   * Max. F-ine: $5 000,000




     -Refers only to possible term of incarceration, supervised release and fines. It does not include
           restitution, special assessments, parole terms' or forfeitures that may be applicable.
